             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 1 of 6



                                                                      THE HONORABLE JAMES ROBART
 1

 2

 3

 4

 5
                                     UNITED STATES DISTRICT COURT
 6                                  WESTERN DISTRICT OF WASHINGTON

 7   BRADY EDMONDS, on behalf of himself and
 8   those similarly situated,
                                                           NO. 2:19‐cv‐01613‐JLR
 9                           Plaintiff,                    STIPULATION AND ORDER EXTENDING
            vs.                                            DEADLINE FOR PLAINTIFF’S RESPONSE
10
                                                           TO MOTION TO INTERVENE AND FOR
11   AMAZON.COM, INC., a Foreign for Profit                LEAVE TO FILE MOTION TO DISMISS,
     Corporation; AMAZON LOGISTICS, INC., a                OR, IN THE ALTERNATIVE, TRANSFER
12   Foreign for Profit Corporation; AMAZON.COM
     SERVICES, INC., a Foreign for Profit Corporation,     NOTED FOR CONSIDERATION:
13
                                                           JUNE 15, 2020
14                           Defendants.

15

16                                            I. STIPULATION

17          To accommodate the schedules and workloads of counsel, Plaintiff Brady Edmonds,

18   Defendants Amazon.com, Inc., Amazon Logistics, Inc., Amazon.com Services, Inc, and

19   Proposed Intervenors Andrea Thomas and Felicia Gaines have agreed to extend the deadlines

20   for the response and reply briefs related to the Motion to Intervene and for Leave to File

21   Motion to Dismiss, or, in the Alternative, Transfer (Dkt. 55). Specifically, the parties stipulate

22   to the following new deadlines:

23                   Response briefs shall be due on June 17, 2020;

24                   The reply brief shall be due on June 25, 2020; and

25                   The motion shall be re‐noted for consideration on June 25, 2020.

26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE                 TERRELL MARSHALL LAW GROUP PLLC
                                                                                936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 1 Case              Seattle, Washington 98103‐8869
                                                                             TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                         www.terrellmarshall.com
             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 2 of 6




 1          RESPECTFULLY SUBMITTED AND DATED this 15th day of June, 2020.
 2
     TERRELL MARSHALL LAW GROUP PLLC                   MORGAN LEWIS & BOCKIUS LLP
 3

 4   By: /s/ Toby J. Marshall, WSBA #32726             By: /s/ Christopher K. Ramsey
 5     Beth E. Terrell, WSBA #26759                     Christopher K. Ramsey, Admitted Pro Hac Vice
       Email: bterrell@terrellmarshall.com              Email: christopher.ramsey@morganlewis.com
 6     Toby J. Marshall, WSBA #32726                    One Oxford Centre, 32nd Floor
       Email: tmarshall@terrellmarshall.com             Pittsburgh, Pennsylvania 15219‐6401
 7     936 North 34th Street, Suite 300                 Telephone: (412) 560‐3300
 8     Seattle, Washington 98103‐8869                   Facsimile: (412) 560‐7001
       Telephone: (206) 816‐6603
 9     Facsimile: (206) 319‐5450                        Ryan D. Redekopp, WSBA #36853
                                                        Email: ryan.redekopp@klgates.com
10
       Andrew R. Frisch, Admitted Pro Hac Vic           K&L GATES LLP
11     Email: afrisch@forthepeople.com                  925 Fourth Avenue, Suite 2900
       Paul M. Botros, Admitted Pro Hac Vice            Seattle, Washington 98104
12     Email: pbotros@forthepeople.com                  Telephone: (206) 623‐7580
       MORGAN & MORGAN, P.A.                            Facsimile: (206) 623‐7022
13
       8151 Peters Road, Suite 4000
14     Plantation, Florida 33324                        Richard Rosenblatt, Admitted Pro Hac Vice
       Telephone: (954) WORKERS                         Email: richard.rosenblatt@morganlewis.com
15     Facsimile: (954) 327‐3013                        MORGAN LEWIS & BOCKIUS LLP
                                                        502 Carnegie Center
16
     Attorneys for Plaintiff                            Princeton, New Jersey 08540‐6241
17                                                      Telephone: (609) 919‐6600
                                                        Facsimile: (609) 919‐6701
18

19                                                     Attorneys for Defendants

20

21

22

23

24

25

26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE              TERRELL MARSHALL LAW GROUP PLLC
                                                                             936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 2 Case           Seattle, Washington 98103‐8869
                                                                          TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                      www.terrellmarshall.com
             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 3 of 6



                                                       BERGER MONTAGUE PC
 1

 2
                                                       By: /s/ Sarah R. Schalman‐Bergen
 3                                                       Sarah R. Schalman‐Bergen*
 4                                                       Email: sschalman‐bergen@bm.net
                                                         Krysten L. Connon*
 5                                                       kconnon@bm.net
                                                         Michaela Wallin*
 6                                                       Email: mwallin@bm.net
 7                                                       Camille Fundora Rodriguez*
                                                         Email: crodriguez@bm.net
 8                                                       Alexandra K. Piazza*
                                                         Email: apiazza@bm.net
 9
                                                         BERGER MONTAGUE PC
10                                                       1818 Market Street, Suite 3600
                                                         Philadelphia, PA 19103
11                                                       Direct: (215) 875‐3053
                                                         Main: (215) 875‐3033
12

13                                                        Ryan Allen Hancock*
                                                          Email: rhancock@wwdlaw.com
14                                                        WILLIG, WILLIAMS & DAVIDSON
                                                          1845 Walnut Street, 24th Floor
15
                                                          Philadelphia, PA 19103
16                                                        Telephone: (215) 656‐3600

17                                                        Jose A. Klein, WSBA No. 47449
18                                                        Email: jose@kleinmunsinger.com
                                                          Damien T. Munsinger, WSBA No. 50531
19                                                        Email: damien@kleinmunsinger.com
                                                          KLEIN MUNSINGER LLC
20                                                        1215 SE 8TH Avenue, Suite F
21                                                        Portland, OR 97214
                                                          Telephone: (503) 568‐1078
22
                                                       * Pro hac vice forthcoming
23
                                                       Attorneys for Proposed Intervenors
24

25

26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE              TERRELL MARSHALL LAW GROUP PLLC
                                                                             936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 3 Case           Seattle, Washington 98103‐8869
                                                                          TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                      www.terrellmarshall.com
             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 4 of 6




 1                                        II. ORDER
 2          IT IS SO ORDERED.
 3          Dated this 18th day of June, 2020.
 4

 5

 6

 7

 8
                                                        A
                                                       UNITED STATE DISTRICT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE            TERRELL MARSHALL LAW GROUP PLLC
                                                                           936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 4 Case         Seattle, Washington 98103‐8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                    www.terrellmarshall.com
             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 5 of 6




 1                                        CERTIFICATE OF SERVICE
 2          I, Toby J. Marshall, hereby certify that on June 15, 2020, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5
                    Ryan D. Redekopp, WSBA #36853
 6                  Email: ryan.redekopp@klgates.com
                    K&L GATES LLP
 7                  925 Fourth Avenue, Suite 2900
 8                  Seattle, Washington 98104
                    Telephone: (206) 623‐7580
 9                  Facsimile: (206) 623‐7022

10                  Richard Rosenblatt, Admitted Pro Hac Vice
11                  Email: richard.rosenblatt@morganlewis.com
                    MORGAN LEWIS & BOCKIUS LLP
12                  502 Carnegie Center
                    Princeton, New Jersey 08540‐6241
13
                    Telephone: (609) 919‐6600
14                  Facsimile: (609) 919‐6701

15                  Christopher K. Ramsey, Admitted Pro Hac Vice
                    Email: christopher.ramsey@morganlewis.com
16
                    MORGAN LEWIS & BOCKIUS LLP
17                  One Oxford Centre, 32nd Floor
                    Pittsburgh, Pennsylvania 15219‐6401
18                  Telephone: (412) 560‐3300
                    Facsimile: (412) 560‐7001
19

20                  Attorneys for Defendants

21                  Jose A. Klein, WSBA No. 47449
22                  Email: jose@kleinmunsinger.com
                    Damien T. Munsinger, WSBA No. 50531
23                  Email: damien@kleinmunsinger.com
                    KLEIN MUNSINGER LLC
24                  1215 SE 8TH Avenue, Suite F
25                  Portland, OR 97214
                    Telephone: (503) 568‐1078
26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE               TERRELL MARSHALL LAW GROUP PLLC
                                                                              936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 5 Case            Seattle, Washington 98103‐8869
                                                                           TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                       www.terrellmarshall.com
             Case 2:19-cv-01613-JLR Document 62
                                             58 Filed 06/18/20
                                                      06/15/20 Page 6 of 6



                    Sarah R. Schalman‐Bergen*
 1
                    Email: sschalman‐bergen@bm.net
 2                  Krysten L. Connon*
                    kconnon@bm.net
 3                  Michaela Wallin*
 4                  Email: mwallin@bm.net
                    Camille Fundora Rodriguez*
 5                  Email: crodriguez@bm.net
                    Alexandra K. Piazza*
 6                  Email: apiazza@bm.net
 7                  BERGER MONTAGUE PC
                    1818 Market Street, Suite 3600
 8                  Philadelphia, PA 19103
                    Direct: (215) 875‐3053
 9
                    Main: (215) 875‐3033
10
                    Ryan Allen Hancock*
11                  Email: rhancock@wwdlaw.com
                    WILLIG, WILLIAMS & DAVIDSON
12
                    1845 Walnut Street, 24th Floor
13                  Philadelphia, PA 19103
                    Telephone: (215) 656‐3600
14
                    * Pro hac vice forthcoming
15

16                  Attorneys for Proposed Intervenors

17          DATED this 15th day of June, 2020.

18                                             TERRELL MARSHALL LAW GROUP PLLC
19

20                                             By:    /s/ Toby J. Marshall, WSBA #32726
                                                     Toby J. Marshall, WSBA #32726
21                                                   Email: tmarshall@terrellmarshall.com
22                                                   936 North 34th Street, Suite 300
                                                     Seattle, Washington 98103‐8869
23                                                   Telephone: (206) 816‐6603
                                                     Facsimile: (206) 319‐5450
24

25                                             Attorneys for Plaintiff

26

27
     STIPULATION AND ORDER EXTENDING DEADLINE FOR PLAINTIFF’S
     RESPONSE TO MOTION TO INTERVENE AND FOR LEAVE TO FILE               TERRELL MARSHALL LAW GROUP PLLC
                                                                              936 North 34th Street, Suite 300
     MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TRANSFER ‐ 6 Case            Seattle, Washington 98103‐8869
                                                                           TEL. 206.816.6603  FAX 206.319.5450
     No.: 2:19‐cv‐01613‐JLR                                                       www.terrellmarshall.com
